Case 1:19-cv-24704-JEM Document 37 Entered on FLSD Docket 04/10/2020 Page 1 of 5




                             UNITED STATES DISTRICT COURT

                            SOUTHERN DISTRICT OF FLORIDA

                                        MIAMI DIVISION

  BLUEGREEN VACATIONS
  UNLIMITED, INC., a Florida corporation;
  AND BLUEGREEN VACATIONS
  CORPORATION, a Florida corporation,

         Plaintiffs,                                Case No.: 1:19-cv-24704-JEM

  V.
                                           MOTION TO WITHDRAW AS
  THE MONTGOMERY LAW FIRM, LLC, COUNSEL FOR CERTAIN
  a Missouri limited liability company;    DEFENDANTS
  MONTGOMERY & NEWCOMB, LLC, a
  Missouri limited liability company; M.
  SCOTT MONTGOMERY, ESQ., an
  individual; W. TODD NEWCOMB, ESQ.,
  an individual; PRINCIPAL TRANSFER
  GROUP, LLC, a Missouri limited liability
  company; JASON LEVI HEMINGWAY,
  an individual; and CLS, INC. D/B/A
  ATLAS VACATION REMEDIES and
  ALSO D/B/A PRINCIPAL TRANSFER
  GROUP, a Missouri corporation; and
  SQUARE ONE DEVELOPMENT GROUP,
  INC.,

         Defendants.

         Defendants, THE MONTGOMERY LAW FIRM, LLC (“Montgomery Law Firm”);

  MONTGOMERY & NEWCOMB, LLC (“Montgomery & Newcomb”); M. SCOTT

  MONTGOMERY, ESQ. (“Montgomery”) and W. TODD NEWCOMB, ESQ. (“Newcomb”)

  (collectively referred to as “Defendants”), pursuant to S.D. Fla. R. 7.1(a)(1)(F), moves for the

  entry of an order permitting Attorneys Coleman W. Watson, Esq. and Leia V. Leitner, Esq. of

  the law firm of WATSON, LLP, to withdraw from this case and to terminate Attorneys Watson

  and Leitner’s continued notices of record activity in this action from CM/ECF delivery because

  the firm of Watson LLP is having to cease operations in the very near future. And, in further

  support thereof said Motion, states as follows:
         MOTION TO WITHDRAW AS COUNSEL FOR CERTAIN DEFENDANTS -1
                                     Case No.: 1:19-cv-24704-JEM
Case 1:19-cv-24704-JEM Document 37 Entered on FLSD Docket 04/10/2020 Page 2 of 5




          1.      On November 13, 2019, Plaintiffs filed the instant action against Defendants for

  damages and injunctive relief for false advertising and contributory false advertising in

  violation of the Lanham Act, 15 U.S.C. § 1125(a)(1) and under the causes of action for a

  defendant making false and/or misleading representations about its own goods or services,

  tortious interference with contractual relations, civil conspiracy, and violations of the Florida

  Deceptive and Unfair Trade Practices Act. See generally Doc. 1 at ¶¶112–187.

          2.      A few weeks later, on December 11, 2019, Coleman W. Watson, Esq. waived

  service of process and accepted service of the summons, along with a copy of the Complaint,

  on behalf of Defendants in this action. Doc. 8. That same day, the undersigned filed a notice

  of appearance of Counsel on behalf of Defendants. Doc. 9.

          3.      Due to unforeseen circumstances, however, Coleman W. Watson, Esq., suffered

  a serious medical issue (unrelated to COVID-19) and is unable to practice law at this time. As

  a result, the law firm of Watson, LLP is having to cease operations based on Mr. Watson’s

  grave medical condition. As such, Attorneys Watson and Leitner of Watson, LLP seek to

  withdraw as counsel for Defendants in the above-referenced action: Case No.: 1:19-cv-24704-

  JEM.
          4.      “[N]o attorney shall withdraw the attorney’s appearance in any action or

  proceeding except by leave of Court after notice served on the attorney’s client and opposing

  counsel. A motion to withdraw shall include a current mailing address for the attorney’s client

  or the client’s new or remaining counsel.” S.D. Fla. R. 11.1(d)(3).

          5.      On March 27, 2020, the undersigned gave notice to Defendants of the reason for

  the termination of the attorney-client relationship and that Attorneys Watson and Leitner would

  seek to withdraw as counsel of record in this proceeding, which such notice complies with the

  local rules of this court. See id.

          6.      On March 31, 2020, the undersigned gave notice to opposing counsel that

  Attorneys Watson and Leitner of the law firm of Watson, LLP would be seeking a withdrawal

  as counsel of record as to Defendants, which such notice also complies with the local rules of

  this court. See id.

         MOTION TO WITHDRAW AS COUNSEL FOR CERTAIN DEFENDANTS -2
                                       Case No.: 1:19-cv-24704-JEM
Case 1:19-cv-24704-JEM Document 37 Entered on FLSD Docket 04/10/2020 Page 3 of 5




         7.         The Motion for Withdrawal should be granted for several reasons. First, the

  Defendants and opposing counsel, were provided with the requisite notice and a full

  explanation of the grounds for this Motion. See id. Second, withdrawal should be permitted

  because Mr. Watson is unable to practice law at this time due to his significant medical

  condition. Finally, the law firm of Watson, LLP will be dissolved soon; thus, the undersigned

  will no longer be employed at Watson, LLP and will not have the means to effectively

  represent Defendants for the close of these proceedings.

         8.         The current mailing address for Defendants, Montgomery Law Firm,

  Montgomery & Newcomb, Montgomery, and Newcomb, is as follows: 435 E. Walnut St.,

  Springfield, MO 65806. See id.

         9.         Accordingly, Coleman W. Watson and Leia V. Leitner of the law firm of

  WATSON, LLP are, therefore, seeking to withdraw from representing Defendants in Case No.:

  1:19-cv-24704-JEM.

         10.        The undersigned respectfully requests thirty (30) days for Defendants,

  Montgomery Law Firm and Montgomery & Newcomb, to secure other counsel for the close of

  these proceedings. See Palazzo v. Gulf Oil Corp., 764 F.2d 1381, 1385 (11th Cir. 1985); see

  also Benjamin v. Airborne Sec. & Prot. Servs., Inc., No. 12-61624-CIV, 2012 WL 12886185,

  at *1 (S.D. Fla. Dec. 18, 2012) (explaining that corporations must be represented by counsel).

         11.        Attached as Exhibit “A” is a proposed Order for said Motion pursuant to Local

  Rule 7.1(a)(2).

                    CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)(3)

         I HEREBY CERTIFY that on March 31, 2020, pursuant to Local Rule 7.1(a)(3), I

  conferred in good faith with opposing counsel to resolve the issues raised herein without court

  intervention. Opposing Counsel represented that they are unopposed to a substitution of

  counsel, but oppose a withdrawal of counsel for Defendants due to Attorney Ward’s conduct

  during the discovery process in these proceedings, and the January 30, 2020 incident at the

  Middle District of Florida in the related matter titled: Wyndham Vacation Ownership, Inc., et.

  al. v. Montgomery Law Firm, et. al.: Case No.: 8:19-cv-1895-T-36-CPT. These issues,

         MOTION TO WITHDRAW AS COUNSEL FOR CERTAIN DEFENDANTS -3
                                       Case No.: 1:19-cv-24704-JEM
Case 1:19-cv-24704-JEM Document 37 Entered on FLSD Docket 04/10/2020 Page 4 of 5




  however, are unrelated to Attorneys Watson and Leitner’s conduct throughout these

  proceedings, but opposing counsel opposes the relief requested herein based on these grounds.

         WHEREFORE, Defendants, THE MONTGOMERY LAW FIRM, LLC;

  MONTGOMERY & NEWCOMB, LLC; M. SCOTT MONTGOMERY, ESQ. and W. TODD

  NEWCOMB, ESQ., respectfully seeks the entry of an order granting leave for Attorneys

  Coleman W. Watson, Esq. and Leia V. Leitner, Esq. to withdraw as counsel, and for such other

  further relief that this Court deems just and necessary.




  DATED on April 10, 2020

                                                Respectfully submitted,

                                                WATSON LLP

                                                 /s/ Leia V. Leitner
                                                 Coleman W. Watson, Esq.
                                                 Florida Bar. No. 0087288
                                                 California Bar No. 266015
                                                 Georgia Bar No. 317133
                                                 New York Bar Reg. No. 4850004
                                                 Email: coleman@watsonllp.com
                                                         docketing@watsonllp.com
                                                 Leia V. Leitner, Esq.
                                                 Florida Bar No. 0105621
                                                 Email: leia@watsonllp.com

                                                 WATSON LLP
                                                 189 S. Orange Avenue
                                                 Suite 810
                                                 Orlando, FL 32801
                                                 Telephone: 407.377.6634
                                                 Facsimile: 407.377.6688




         MOTION TO WITHDRAW AS COUNSEL FOR CERTAIN DEFENDANTS -4
                                      Case No.: 1:19-cv-24704-JEM
Case 1:19-cv-24704-JEM Document 37 Entered on FLSD Docket 04/10/2020 Page 5 of 5



                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on April 10, 2020, pursuant to Fed. R. Civ. P. 5(d)(3), I filed
  the foregoing document electronically with this court’s CM/ECF system, which will serve an
  electronic copy of the foregoing document on the following counsel of record in this
  proceeding:

                Alfred J. Bennington, Jr.
                Glennys Ortega Rubin
                Michael J. Quinn
                Shutts & Bowen, LLP
                Suite 1600
                300 S Orange Ave.
                Orlando, FL 32801
                Email: bbennington@shutts.com
                Email: grubin@shutts.com
                Email: mquinn@shutts.com

                Daniel Joseph Barsky
                Shutts & Bowen, LLP
                525 Okeechobee Blvd, Ste 1100
                West Palm Beach, FL 33401-6351
                Email: dbarsky@shutts.com

                                               /s/ Leia V. Leitner
                                               Leia V. Leitner




         MOTION TO WITHDRAW AS COUNSEL FOR CERTAIN DEFENDANTS -5
                                    Case No.: 1:19-cv-24704-JEM
